EXHIBIT C
UNITED STATES DISTRICT COURT
DISTRICT OF MASSACHUSETTS

AMERICAN ASSOCIATION OF UNIVERSITY
PROFESSORS, ET AL.,

                          Plaintiffs,                        Case No. 1:25-cv-10685 (WGY)

         v.

MARCO RUBIO, ET AL.

                          Defendants.


              PLAINTIFFS’ FIRST SET OF REQUESTS FOR PRODUCTION
                           DIRECTED TO DEFENDANTS

        PLEASE TAKE NOTICE that, pursuant to Rule 34 of the Federal Rules of Civil Procedure

and Local Civil Rules for the District of Massachusetts 26.1, Plaintiffs American Association of

University Professors, American Association of University Professors-Harvard Faculty Chapter,

American Association of University Professors at New York University, Rutgers American

Association of University Professors-American Federation of Teachers, and Middle East Studies

Association (“Plaintiffs”), by and through their undersigned counsel hereby request that

Defendants Marco Rubio, Kristi Noem, Todd Lyons, and Donald J. Trump (“Defendants”)

produce the following documents and things identified and listed below for inspection.

                           DEFINITIONS AND INSTRUCTIONS

   1. The definitions and instructions provided in Federal Rule of Civil Procedure 34(a) and

Local Rules 26.5 and 34.1 are incorporated by reference.

   2. Whenever reference is made to a person or legal entity, it includes any and all of such

person’s or entity’s past and present affiliates, components, subdivisions, offices, directors,

officers, agents, partners, employees, contractors, consultants, attorneys, representatives,


                                               1
investigators, predecessors, successors, assigns and/or any other person or entity acting on, or

purporting to act on, its behalf.

   3.   “Adverse action” means investigating, monitoring, surveilling, revoking the visa or lawful

permanent residency of, determining the removability of, or seizing, arresting, detaining,

removing, or transferring to detention facilities in Louisiana.

    4. “And” and “or” shall be construed in the conjunctive or disjunctive as necessary to bring

within the scope of the Request all responses that might otherwise be construed as outside its scope.

    5. “Any” shall be construed to include the word “all” and “all” shall be construed to include

the word “any.”

    6. “Communication”, as defined in Local Rule 26.5(c), means the transmittal of information

(in the form of facts, ideas, inquiries, or otherwise).

    7. “Concerning” means, as defined in Local Rule 26.5(c), referring to, describing, evidencing

or constituting.

    8. “Covered Institution” means the following colleges and universities: Arizona State

University, Columbia University, Cornell University, Georgetown University, Harvard

University, Minnesota State University System, Tufts University, University of California System,

University of Massachusetts System, and University of Texas System.

    9. The terms “document” and “documents” mean any and all items referred to as “documents”

in Federal Rule of Civil Procedure 34 and as “writings” and “recordings” in Federal Rule of

Evidence 1001. By way of example and without limitation, the terms “document” and

“documents” include the original, all drafts, and all non-identical copies, regardless of origin or

location, of the following: notes, correspondence (including by letter, by e-mail, or by SMS text


                                                   2
message, or by iMessage), internal communications, e-mail, ledger books, log books, statements,

memoranda, policies, procedures, directives, instructions, guidance, summaries of records of

conversations, reports, video tapes, audio tapes, minutes or records of meetings, summaries of

interviews or investigations, maps, and photographs. The term “document” shall include data

stored and organized electronically.

   10. “Each” shall be construed to include the word “every” and “every” shall be construed to

include the word “each.”

   11. “Including” shall be construed to include the phrase “without limitation.”

   12. The terms “you” and “your” refer to each of the defendants individually responding to

these requests.

   13. The term “Targeted Noncitizen Students or Faculty Members” means the following

individuals:

           a. Mahmoud Khalil;

           b. Mohsen Mahdawi;

           c. Rümeysa Öztürk;

           d. Yunseo Chung;

           e. Efe Ercelik;

           f. Mohammed Hoque;

           g. Ranjani Srinivasan;

           h. Badar Khan Suri; and

           i. Momodou Taal.




                                               3
   14. To the extent a request calls for the production of documents or things you contend are

subject to a privilege or immunity from discovery, your written request should so indicate, but you

are requested to produce the balance of the documents or things not subject to a claim of privilege

which fall within the scope of the request. Additionally, to the extent information subject to a

privilege or immunity from discovery is contained within responsive documents or things, you are

requested to produce a redacted version of the document or thing containing the non-privileged

information with a notation on the produced document or thing indicating that it is being produced

in redacted form.

   15. If you are unable to produce any file or document sought in these requests, you shall

identify the file or document; state the reasons why you are unable to produce it, describe in detail

the efforts you have made to obtain it, and identify its location and/or custodian.

   16. Documents responsive to these requests should be produced in the order in which they are

ordinarily kept and in a format sufficient to identify the files from which they have been taken.

Documents from different files should not be intermingled.

   17. Except as otherwise specified, these requests cover the time period January 20, 2025 to the

present.

   18. These discovery requests are continuing in that they may require supplemental responses.

If you obtain further information or documents with respect to any request to which you have

already responded, you have a continuing duty to supplement your answer pursuant to Federal

Rule of Civil Procedure 26(e) at any time prior to the entry of judgment.

   19. For each document or thing requested that you object to producing on the basis of any

privilege or immunity from discovery, please provide the following information:


                                                 4
           a. The basis for the privilege being invoked;

           b. The date of the document;

           c. The title of the document (if any);

           d. The name of the person(s) authoring the document;

           e. The name of the person(s) to whom the document and/or copies thereof were

              given or transmitted;

           f. The name of the person(s) from whom the document and/or copies thereof were

              given or transmitted:

           g. The present location and custodian of the document, or any copies thereof; and

           h. The general subject matter dealt with in the document with reasonable specificity

              to allow Plaintiffs to determine whether to challenge the privilege designation.

                                  DOCUMENT REQUESTS

   1. Documents and communications showing the planning, execution and implementation of

your decision to take any adverse action against a Targeted Noncitizen Student or Faculty

Member, including:

           a. Documents and communications relating to the planning and execution of the

              arrest and detention of Mahmoud Khalil;

           b. Documents and communications relating to the planning and execution of the

              arrest and detention of Mohsen Mahdawi.

           c. Documents and communications relating to the planning and execution of the

              arrest and detention of Rümeysa Öztürk.



                                                5
           d. Documents and communications relating to the planning and execution of the

               arrest and detention of Yunseo Chung.

           e. Documents and communications relating to the planning and execution of the

               arrest and detention of Efe Ercelik;

           f. Documents and communications relating to the planning and execution of the

               arrest and detention to Mohammed Hoque;

           g. Documents and communications relating to the planning and execution of the

               arrest and detention of Ranjana Srinivasan;

           h. Documents and communications relating to the planning and execution of the

               arrest and detention of Badar Khan Suri; and

           i. Documents and communications relating to the planning and execution of the

               arrest and detention of Momodou Taal.

   2. Documents and communications requesting or recommending the taking of, and

memorializing, explaining, or justifying the decision to take any adverse action against a

Targeted Noncitizen Student or Faculty Member, including:

           a. A document or documents in which the Department of Homeland Security

               (“DHS”) and/or U.S. Immigration and Customs Enforcement (“ICE”) requested

               or recommended that the U.S. Department of State revoke the visas of or

               determine the removability of a Targeted Noncitizen Student or Faculty Member.

               See Ozturk v. Trump, No. 25-CV-374, 2025 WL 1145250, at *3 (D. Vt. Apr. 18,

               2025) (describing request from DHS and ICE for revocation of Rümeysa Öztürk’s

               F-1 visa);




                                                 6
           b. A document or documents in which the State Department approved, explained, or

               justified the revocation of a Targeted Noncitizen Student’s or Faculty Members’s

               visa. See id.;

           c. A document or documents in which Secretary of State Marco Rubio determined

               that a Targeted Noncitizen Student or Faculty Member is removable under 8

               U.S.C. § 1227(a)(4)(C), and the attachments to any such determination. See, e.g.,

               Khalil v. Joyce, No. 25-CV-01963, 2025 WL 1232369, at *2 (D.N.J. Apr. 29,

               2025);

           d. A document or documents in which the State Department informed DHS and/or

               ICE that it had approved the revocation of a Targeted Noncitizen Student or

               Faculty Member’s visa or determined the removability of a Targeted Noncitizen

               Student or Faculty Member; and

           e. Any Notice to Appear (Form I-862), administrative arrest warrant (Form I-200),

               or Record of Deportable/Inadmissible Alien (Form I-213) that has been issued or

               drafted as to any of the Targeted Noncitizen Students or Faculty Members.

   3. The following documents and memoranda that Plaintiffs have reason to believe are in

Defendants’ possession based on the public record and that are relevant to the adverse actions

taken against the Targeted Noncitizen Students or Faculty:

           a. A memorandum from Secretary Rubio accusing Mohsen Mahdawi of engaging in

               “threatening rhetoric and intimidation of pro-Israeli bystanders.” Mahdawi v.

               Trump, No. 25-CV-389, 2025 WL 1243135, at *10 (D. Vt. Apr. 30, 2025);

           b. A memorandum from Andre Watson (Senior Official, Homeland Security

               Investigations) to John Armstrong (Senior Bureau Official, Department of State)



                                                7
               stating that Rümeysa Öztürk had engaged in “anti-Israel activism.” John Hudson,

               No Evidence Linking Tufts Student to Antisemitism or Terrorism, State Dept.

               Office Found, Wash. Po. (Apr. 13, 2025) https://perma.cc/KRB2-AVXF;

           c. A March 2025 State Department memorandum finding that neither DHS nor ICE

               nor Homeland Security Investigations had produced any evidence showing that

               Rümeysa Öztürk had engaged in antisemitic activity or made public statements

               indicating support for a terrorist organization. See id.;

           d. A document dated March 21, 2025 in which the State Department informed DHS

               that the revocation of Öztürk’s visa had been “approved.” See id.;

           e. An April 9, 2025 memorandum from the Deputy Assistant Secretary of State for

               Visa Services to ICE regarding the revocation of Efe Ercelik’s visa. Ercelik v.

               Hyde, No. 25-CV-11007, slip op. at 17 (D. Mass. May 8, 2025);

           f. A March 22, 2025 communication from DHS/ICE to the State Department

               seeking the Department’s determination as to whether Mohammed Hoque’s visa

               should be revoked. Hoque v. Trump, No. 25-cv-01576, slip op. at 4 (D. Conn.

               May 5, 2025); and

           g. A May 23, 2025 memorandum from the State Department informing DHS/ICE

               that Mohammed Hoque’s visa had been revoked. See id.

   4. Documents and communications with Betar US, Canary Mission, and the Heritage

Foundation concerning the Targeted Noncitizen Students or Faculty Members.

   5. Communications, memoranda, policies, procedures, and directives concerning the

inspection, review, monitoring, or surveillance of noncitizens’ social media accounts or activity




                                                  8
for pro-Palestinian, anti-Semitic, anti-Zionist, pro-terrorist, pro-Hamas, pro-Jihadist, or anti-

Israel speech or activity, including:

           a. The State Department’s new guidance to consular officers on reviewing visa

               applicants’ social media, referred to in paragraph 16 of the declaration from John

               Armstrong submitted in support of the government’s opposition to Plaintiffs’

               preliminary injunction motion; and

           b. The Secretary of State’s communication to State Department employees on March

               25, 2025, titled “Enhanced Screening and Social Media Vetting for Visa

               Applicants.” Ken Klippenstein, Trump Admin Spies on Social Media of Student

               Visa Holders, Substack (Mar. 28, 2025), https://perma.cc/FV5L-MUNA; and

   6. Memoranda, policies, procedures, directives or guidance concerning the implementation

or enforcement of Executive Orders 14,161 and 14,188 related to the revocation of visas or green

cards, or the surveillance, arrest, detention, or deportation of noncitizen students or faculty

members for pro-Palestinian, anti-Semitic, anti-Zionist, pro-terrorist, pro-Hamas, pro-Jihadist, or

anti-Israel speech or activity, including:

           a. Any reports issued by the Attorney General, the Secretary of State, the Secretary

               of Education, and the Secretary of Homeland Security pursuant to Section 3(a) of

               Executive Order 14,188; and

           b. Communications from the State Department to Covered Institutions directing

               them to report international students for participating in “proscribed antisemitic

               actions,” “terrorist activity,” or “endorsing or espousing terrorism.” Prem Thaker,

               SCOOP: Trump Admin Forcing Schools to Report International Students for




                                                  9
               Protest Activity or ‘Antisemitic Actions,’ Zeteo (May 16, 2025),

               https://perma.cc/XD4N-BSZC.

   7. Communications with Covered Institutions concerning non-citizen students or faculty

members who have been accused or suspected of engaging in speech or activities deemed or

suspected to be pro-Palestinian, anti-Semitic, anti-Zionist, pro-terrorist, pro-Hamas, pro-Jihadist,

or anti-Israel, including the list of students provided by DHS to Columbia University that was

referenced by White House Press Secretary Karoline Leavitt in her press briefing on March 11,

2025.

Dated:         May 19, 2025
               New York, NY

                                              SHER TREMONTE LLP

                                                      By:     /s/ Noam Biale
                                                      Michael Tremonte
                                                      Noam Biale
                                                      Alexandra Conlon
                                                      Courtney Gans
                                                      90 Broad Street, 23rd Floor
                                                      New York, New York 10004
                                                      (212) 202-2603
                                                      mtremonte@shertremonte.com

                                                      Ramya Krishnan
                                                      Carrie DeCell
                                                      Xiangnong Wang
                                                      Talya Nevins
                                                      Jackson Busch
                                                      Scott Wilkens
                                                      Alex Abdo
                                                      Jameel Jaffer
                                                      Knight First Amendment Institute
                                                      at Columbia University
                                                      475 Riverside Drive, Suite 302
                                                      New York, NY 10115
                                                      (646) 745-8500
                                                      ramya.krishnan@knightcolumbia.org



                                                 10
                                           Ahilan T. Arulanantham
                                           Professor from Practice
                                           UCLA School of Law
                                           385 Charles E. Young Dr. East
                                           Los Angeles, CA 90095
                                           (310) 825-1029
                                           arulanantham@law.ucla.edu


                                           Attorneys for Plaintiffs

To:   Ethan B. Kanter (via email)
      Harry Graver (via email)
      Lindsay M. Murphy (via email)
      Shawna Yen (via email)
      Sarmad Khojatesh (via email)

      Attorneys for Defendants




                                      11
